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                    UNITED STATES DISTRICT COURT

                           DISTRICT OF OREGON

                            PORTLAND DISTRICT




  THE ESTATE OF ROBERT                    Case No. 3:19-cv-00199
  MATTHEW BENNETT, LISA D.
  MORRISON, in her capacity as
  personal representative,
                                         NOTICE OF REMOVAL OF CIVIL
                    Plaintiff,           ACTION
  v.

  CENTRAL CITY CONCERN, a
  domestic non-profit corporation,
  CASCADIA BEHAVIORAL
  HEALTHCARE INC., a domestic
  non-profit corporation,
  CHRISTOPHER HOBART, MD,

                    Defendants.
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      PLEASE TAKE NOTICE that the civil action The Estate of Robert

Matthew Bennett v. Central City Concern, et al., Multnomah County Circuit

Court Case No. 18CV40542, is hereby removed to this Court by the United

States of America pursuant to 42 U.S.C. §233(c). The United States provides

the following grounds for removal:

   1. On or about September 12, 2018, the following civil action alleging

medical malpractice was filed: The Estate of Robert Matthew Bennett v.

Central City Concern, et al., Multnomah County Circuit Court, State of

Oregon, Case No. 18CV40542.

   2. Defendant Christopher Hobart, MD was at all relevant times an

employee of Central City Concern, who was acting within the scope of his

employment.

   3. Defendant Central City Concern was deemed by the Secretary of

Health and Human Services to be, at all relevant times, an employee of the

Public Health Service and therefore eligible for Federal Tort Claims Act

coverage pursuant to 42 U.S.C. § 233(g). See Exhibit 1.

   4. Pursuant to the authority delegated by the United States Attorney for

the District of Oregon, the Chief of the Civil Division of the U.S. Attorney’s

Office has certified that Christopher Hobart, MD was acting within the




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course and scope of his employment with Central City Concern at the time of

the incident out of which the Plaintiff’s claim arose. See Exhibit 2.

   5. The United States has the statutory right to remove this action to

federal court. See 42 U.S.C. § 233(c). Upon certification, the action “shall

be removed without bond at any time before trial by the Attorney General to

the district court of the United States of the district and division embracing

the place wherein it is pending and the proceeding deemed a tort action

brought against the United States under the provisions of title 28 and all

references thereto.” 42 U.S.C. § 233(c).

   6. Therefore, the United States should be substituted as a defendant in

the action in place of Central City Concern and Christopher Hobart, MD.

   7. Accompanying this Notice of Removal of Civil Action, the United States

is filing a copy of all process, pleadings, and orders in this action. See

Exhibit 3.

   8. A copy of this Notice of Removal of Civil Action is being served upon the

Plaintiff and Co-Defendant and a copy shall be filed with the Court Clerk of

Multnomah County, Oregon.




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DATED this 8th day of February, 2019.

                                     BILLY J. WILLIAMS
                                     United States Attorney
                                     District of Oregon

                                     /s/ Alison Milne
                                     ALISON MILNE
                                     Assistant United States Attorney
                                     Attorneys for Defendants




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                        CERTIFICATE OF SERVICE

      I hereby certify that copies of the foregoing Notice of Removal of

Civil Action were placed in a postage prepaid envelope and deposited in the

United States Mail according to established office procedure within the office

of the United States Attorney at Portland, Oregon, on February 8, 2019,

addressed to:

      George McCoy
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      850 NW 122nd Avenue
      Portland, Oregon 97230
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            Attorney for Plaintiff

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            Attorney for Defendant Cascadia Behavioral Healthcare, Inc.



                                     /s/ Alison Milne
                                     ALISON MILNE
                                     Assistant United States Attorney




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